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 1                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 2                                  AT SEATTLE
 3
     UNITED STATES OF AMERICA,                   )   CASE NO. 2:20-cr-00093-RSM
 4                                               )
                             Plaintiff,          )   ORDER APPOINTING RUSSELL M.
 5                 v.                            )   AOKI AS COORDINATING DISCOVERY
 6                                               )   ATTORNEY
     (1)   DELMER VELASQUEZ-LICONA,              )
 7   (2)   RODRIGO ALVAREZ-QUINONEZ,             )
     (3)   JORGE CRUZ-HERNANDEZ                  )
 8   (4)   JUAN HERNANDEZ-HERNANDEZ,             )
 9   (5)   JOSE FERNANDO ESCOTO-FIALLOS,         )
     (6)   SAUL SUAREZ-MATA,                     )
10   (7)   JORGE ALBERTO RAMOS, and              )
     (8)   TARA SCOTT,                           )
11                                               )
12                           Defendants.         )
                                                 )
13   UNITED STATES OF AMERICA,                   )   CASE NO. 2:20-cr-00094-RSM
                                                 )
14                           Plaintiff,          )
15                 v.                            )
                                                 )
16   (1)   GUSTAVO SANDOVAL-AGURCIA,             )
     (2)   ELIAS NEFTALI MONTES-SEVILLA,         )
17   (3)   JORGE URIEL ESQUIVEL-MENA,            )
18   (4)   FRANCISCO JAVIER ESQUIVEL-MENA,       )
     (5)   BALDEMAR MARTINEZ-RICO and            )
19   (6)   WILMER GALDINO-MARADIAGA,             )
                                                 )
20                            Defendants.        )
21                                               )
                                                 )
22   UNITED STATES OF AMERICA,                   )   CASE NO. 2:20-cr-00128-RSM
                                                 )
23
                             Plaintiff,          )
24                 v.                            )
                                                 )
25   (1) WILMER AVILA-GAMEZ and                  )
     (2) ANGELICA ANDRADE-ARENAL,                )
26
                                                 )
27                            Defendants.        )

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      ORDER APPOINTING RUSSELL M. AOKI AS COORDINATING DISCOVERY ATTORNEY - 1
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 1   UNITED STATES OF AMERICA,                             ) CASE NO. 2:20-cr-00130-RSM
                                                           )
 2                                Plaintiff,               )
 3                  v.                                     )
                                                           )
 4   (1) BRUNO GERARDO DIEGUEZ-CASTRO                      )
           and                                             )
 5   (2) HUGO RADAMES GAMEZ-ANDRADE,                       )
 6                                                         )
                                     Defendants.           )
 7                                                         )
     UNITED STATES OF AMERICA,                             ) CASE NO. 2:20-cr-00131-RSM
 8                                                         )
 9                                Plaintiff,               )
                    v.                                     )
10                                                         )
     ERICK URBINA-ESCOTO,                                  )
11                                                         )
12                                    Defendant.           )
                                                           )
13
            It is hereby ORDERED that Russell M. Aoki of Aoki Law, PLLC is appointed as
14
15   Coordinating Discovery Attorney for court-appointed defense counsel.

16          The Coordinating Discovery Attorney shall oversee any discovery issues common to
17   all defendants. His responsibilities will include:
18
        •   Managing and, unless otherwise agreed upon with the government, distributing
19          discovery produced by the government and relevant third-party information common
            to all defendants;
20
21      •   Assessing the amount and type of case data to determine what types of technology
            should be evaluated and used so duplicative costs are avoided and the most efficient
22          and cost-effective methods are identified;
23
        •   Acting as a liaison with federal prosecutors to ensure the timely and effective
24          exchange of discovery;

25      •   Identifying, evaluating, and engaging third-party vendors and other litigation support
            services;
26
27      •   Assessing the needs of individual parties and further identifying any additional
            vendor support that may be required—including copying, scanning, forensic
28

      ORDER APPOINTING RUSSELL M. AOKI AS COORDINATING DISCOVERY ATTORNEY - 2
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 1          imaging, data processing, data hosting, trial presentation, and other technology
            depending on the nature of the case;
 2
 3      •   Identifying any additional human resources that may be needed by the individual
            parties for the organization and substantive review of information; and
 4
        •   Providing training and support services to the defense teams as a group and
 5
            individually.
 6
            When executing these responsibilities, the Coordinating Discovery Attorney shall
 7
     assess the most effective and cost-efficient manner to organize the discovery with input from
 8
 9   defense counsel.

10          The Coordinating Discovery Attorney’s duties do not include providing
11
     representation services, and therefore will not be establishing an attorney-client relationship
12
     with any of the defendants. Discovery intended for counsel of a specific defendant and not
13
     to be shared among all defense counsel, shall be produced by the government directly to
14
15   defense counsel for that defendant. For discovery common to all defendants, discovery

16   issues specific to any defendant shall be addressed by defense counsel directly with the
17
     government and not through the Coordinating Discovery Attorney.
18
            For any common discovery already produced by the government prior to this Order,
19
     the government shall provide a copy to the Coordinating Discovery Attorney within 14 days.
20
21   Any additional discovery not already produced shall be provided directly to the

22   Coordinating Discovery Attorney, who shall duplicate and distribute the discovery to all
23
     defense counsel, unless the government elects to produce discovery directly to defense
24
     counsel with a simultaneous copy to the Coordinating Discovery Attorney. The government
25
     shall work with the Coordinating Discovery Attorney to provide discovery in a timely
26
27   manner.

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      ORDER APPOINTING RUSSELL M. AOKI AS COORDINATING DISCOVERY ATTORNEY - 3
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 1          The Coordinating Discovery Attorney shall petition this Court, ex parte, for funds
 2   for outside services and shall monitor all vendor invoices for these services including
 3
     confirming the work previously agreed to be performed. However, the Court acknowledges
 4
     his time and the time spent by his staff will be paid by the Administrative Office of the U.S.
 5
 6   Courts, Defender Services Office. All petitions for outside services shall include a basis for

 7   the requested funds and a determination that the costs of the services are reasonable.
 8          The Coordinating Discovery Attorney shall also provide this Court with monthly ex
 9
     parte status reports depicting the status of work and whether that work remains within the
10
     budget of any funds authorized by the Court, with the copy provided to defense counsel.
11
12          DATED this 18th day of September, 2020.

13
14
15
16
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT
17
                                                   JUDGE
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      ORDER APPOINTING RUSSELL M. AOKI AS COORDINATING DISCOVERY ATTORNEY - 4
